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                                Exhibit 32
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Message



From:          Corbett Sanders, Karen (School Board Member) [/O=EXCHANGELABS/OU=EXCHANGE ADMINISTRATIVE GROUP
               (FYDIBOHF23SPDLT)/CN=RECIPIENTS/CN=471DCBSBO40F4ABF87CF766D8C2E931F-CORBETT SAN]
Sent:          6/8/2020 12:24:46 PM
To:            Scott Surovell [ssurovell@gmail.com]
ce:            Delegate Paul Krizek [paul@paulkrizek.com]
Subject:       RE: [External] TJ




Scott and Paul,


lease be assured that | am as angry and disappointed in these numbers as you are. The previous board requested that
the Superintendent bring to us a plan for addressing the equity in admissions issues for Tl We have had some
preliminary discussions but none of us were given forewarning about the numbers. | have just gotten off the phone
with the Superintendent for the second time over the weekend about this issue and have had conversations with
Secretary Garni, | believe that there will be Intentful action forthcoming and | will keep you both posted,


Karen




From: Scott Surovell [mailto:ssurovell@gmail.com]
Sent: Monday, June 08, 2020 8:19 AM
To: Corbett Sanders, Karen (School Board Member) <kicorbettsan@fcps.edu>
Ce: Delegate Paul Krizek <paul@paulkrizek.com>
Subject: [External] TJ


Karen:


Isaw the TJ admissions numbers after someone alerted me to an article a former TJ student wrote it.


The last state budget had the following language:


        “Each Academic Year Governor's schools shall set diversity goals for its student body and
        faculty, and develop a plan to meet said goals in collaboration with community partners at
        public meetings. Each school shall submit a report to the Governor by October 1 of each
        year on its goals and status of implementing its plan. The report shall include, but not be limited
        to the following:utilization of universal screenings in feeder divisions; admission processes in
        place or under consideration that promote accessfor historically under-served students; and
        outreach and communication efforts deployed to recruit historically under-served students. The
        report shall include the racial/ethnic make-up and socioeconomic diversity of its students,
        faculty, and applicants.”


I was curious where TJ was on this given that public meetings are required and there is a 10/1 deadline. I
understand that the virus has slowed things down. Whenthere are public meetings, I would like to provide
testimony.


Based on the data I was given, TJ has the smallest relative advantaged student population of all 19 Virginia
Governor's Schools in every year for the last 5 years.


What's the plan? Feel free to call.




                                                                                                      FCSB-TJ000010451
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Scott 8.


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